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 1   Timothy E. Warriner
     Attorney at Law
 2   1725 Capitol Ave.
     Sacramento, CA 95814
 3   (916) 443-7141
 4   Attorney for defendant,
     ARMANDO JUSTO
 5
 6
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,           )                No. CRS 05-0112 FCD
                                         )
10               Plaintiff,              )                STIPULATION AND ORDER
                                         )                RE: EXCLUDABLE TIME
11                                       )                AND CONTINUANCE OF
                                         )                STATUS CONFERENCE
12         v.                            )
                                         )
13   ALBERT PAUL ALMAREZ and             )
     ARMANDO JUSTO,                      )                Status Conf. Date: July 25, 2005
14                                       )                Court: Hon. Frank C. Damrell
                 Defendants.             )
15   ____________________________________)
16   The parties hereby stipulate to the following:
17      1. A status conference in this matter is currently set for July 25, 2005 at 9:30 a.m.
18      2. On June 16, 2005 the court ordered preparation of pre-plea presentence reports for both
19          defendants.
20      3. In order to afford the probation department sufficient time to prepare the pre-plea
21          presentence reports, and to provide the defense with additional time to assist in
22          preparation of the reports, both defense counsel request that the status conference be
23          continued to August 15, 2005 at 9:30 a.m. All parties hereto, including the US
24          Probation Officer agree to the proposed continuance of the status conference.
25      4. It is further stipulated by the parties that time be excluded to and including August 15,
26          2005 for preparation of counsel pursuant to local code T4. 18 U.S.C. 3161(h)(8)(B)(Iv).
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 2
      DATED: July 21, 2005               /s/ Timothy E. Warriner
 3                                       Attorney for defendant, RICHARD
                                         MARTINEZ
 4
      DATED: July 21, 2005               /s/ Matthew C. Bockmon
 5                                       Assistant Federal Defender for defendant,
                                         ALBERT ALMAREZ
 6
 7    DATED: July 21, 2005               /s/ Richard J. Bender
                                         Assistant U.S. Attorney
 8
 9
10
11
12                                            ORDER
13            GOOD CAUSE APPEARING, it is hereby ordered that the status conference set for
14    July 25, 2005 be continued to August 15, 2005 at 9:30 a.m., and that time be excluded to and
15    including August 15, 2005 for preparation of counsel pursuant to Local Code T4, 18 U.S.C.
16    3161(h)(8)(B)(iv).
17.
18    DATED: July 22, 2005
19                                              /s/ Frank C. Damrell Jr.
                                                UNITED STATES DISTRICT JUDGE
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